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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

    THE NEW GEORGIA PROJECT,
    et al.,

          Plaintiffs,
                                                CIVIL ACTION FILE
          v.                                    NO. 1:20-cv-01986-ELR

    BRAD RAFFENSPERGER, in his
    official capacity as the Georgia
    Secretary of State and Chair of the
    Georgia State Election Board, et al.,

          Defendants.


    COUNTY DEFENDANTS’1 CONSOLIDATED MOTION TO DISMISS

         County Defendants jointly move to dismiss Plaintiffs’ First Amended

Complaint for Injunctive and Declaratory Relief [Doc. 33] in its entirety

pursuant to Fed. R. Civ. P. 12(b)(1) and (6). Further, Bibb, Chatham, Athens-

Clarke, Albany-Dougherty, Muscogee, and Richmond County Defendants

move to dismiss the Complaint against them pursuant to Fed. R. Civ. P.

12(b)(3). In support of this motion, County Defendants rely on their Brief in




1County Defendants include a list of all party Defendants as an appendix to
the attached brief.

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Support of County Defendants’ Consolidated Motion to Dismiss, which is filed

with this motion.

     Respectfully submitted this 26th day of June, 2020.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing COUNTY DEFENDANTS’ CONSOLIDATED MOTION TO

DISMISS has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                    /s/ Bryan P. Tyson
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